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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

PIMPAKTRA RUST

        Plaintiff,

vs.                                              CIVIL ACTION

VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE

        Defendants.


VERIFIED ANSWER AND DEFENSES OF VINA ELISE RUST, CHAKDHARI ANISSA
 RUST, INDIVIDUALLY AND AS CO-EXECUTORS OF THE ESTATE OF RICHARD
C. RUST, SUCCESSOR IN INTEREST AS EXECUTOR OF THE ESTATE OF PHILIP
    G. RUST, JR. TO PLAINTIFF’S VERIFIED AMENDED COMPLAINT FOR
           DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

         COME NOW, VINA ELISE RUST, CHAKDHARI ANISSA RUST, INDIVIDUALLY

AND AS CO-EXECUTORS OF THE ESTATE OF RICHARD C. RUST, SUCCESSOR IN

INTEREST AS EXECUTOR OF THE ESTATE OF PHILIP G. RUST, JR., Defendants in the

above-entitled action, and, in answer to Plaintiffs Verified Amended Complaint For Declaratory

Judgment and Injunctive Relief, show, as follows:

                                      FIRST DEFENSE

Plaintiff's Amended Complaint fails to state a claim upon which relief may be granted.

                                     SECOND DEFENSE

The Superior Court of Thomas County is an improper venue for this action.




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                                        THIRD DEFENSE

The Superior Court of Thomas County lacks personal jurisdiction over these defendants.

                                       FOURTH DEFENSE

Plaintiff has failed to join an indispensable party.

                                         FIFTH DEFENSE

Plaintiff has unclean hands and is not entitled to declaratory, injunctive, or equitable relief.

                                         SIXTH DEFENSE

This same action was previously filed and currently pending in the Chancery Court of the State

of Delaware as Civil Action Number 2020-0762- SG; consequently, this action should be stayed.

                                      SEVENTH DEFENSE

Plaintiff is not entitled to equitable relief, as Plaintiff has an adequate remedy at law.

                                       EIGHTH DEFENSE

Defendants have fulfilled all of their duties under section 4.2(b) of the Limited Liability

Company Agreement of Goodenow LLC dated April 30, 2012 (the “Operating Agreement”).

                                        NINTH DEFENSE

                                        (Responsive Answer)

                                      Jurisdiction and Venue




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        1. Defendants neither admit nor deny the truth of the allegations contained in Paragraph 1

             of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        2. Paragraph 2 of the Amended Complaint is admitted.

        3. Paragraph 3 of the Amended Complaint is denied.

        4. Paragraph 4 of the Amended Complaint is admitted.

        5. Paragraph 5 of the Amended Complaint is denied.

        6. Defendants neither admit nor deny the truth of the allegations contained in Paragraph 6

             of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        7. Paragraph 7 of the Amended Complaint is admitted.

        8. Paragraph 8 of the Amended Complaint is admitted.

        9. Paragraph 9 of the Amended Complaint is denied.

        10. Paragraph 10 of the Amended Complaint is admitted.

        11. Paragraph 11 of the Amended Complaint is denied.

                                              Factual Background

        12. Paragraph 12 of the Amended Complaint is admitted.

        13. Paragraph 13 of the Amended Complaint is admitted.

        14. Paragraph 14 of the Amended Complaint is admitted.

        15. Paragraph 15 of the Amended Complaint is admitted.

        16. Paragraph 16 of the Amended Complaint is denied. The PGR Will speaks for itself.

        17. Paragraph 17 of the Amended Complaint is denied. The PGR Will speaks for itself.

        18. Paragraph 18 of the Amended Complaint is denied.




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        19. Paragraph 19 of the Amended Complaint is admitted.

        20. Paragraph 20 of the Amended Complaint is denied.

        21. Paragraph 21 of the Amended Complaint is admitted.

        22. Paragraph 22 of the Amended Complaint is admitted.

                                     Formation of Goodenow LLC

        23. . Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             23 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        24. Paragraph 24 of the Amended Complaint is denied.

        25. Defendants admit Goodenow LLC, a Delaware limited liability company, was formed

             on September 29, 2011, Philip’s executor formed Goodenow LLC, a Delaware limited

             liability company to serve as the holding entity for all of the real estate PGR included

             in his trust. Defendants admit that RCR did not reside in Delaware on September 29,

             2011 and none of the real estate was located in Delaware. All remaining allegations in

             Paragraph 25 are denied.

        26. Paragraph 26 of the Amended Complaint is denied. Defendants refer to the documents

             themselves regarding the precise matter of distribution of property.

        27. Paragraph 27 states a legal conclusion; consequently, it does not require a response. To

             the extent a response is required for Paragraph 27, Defendants deny the same.

        28. Paragraph 28 of the Amended Complaint is denied.

        29. Defendants admit on April 30, 20212, Wilmington Trust, as trustee of the Trust, and

             Wilmington Trust, as the initial member of the LLC in its fiduciary capacity for the

             Trust, entered into an operating agreement for the LLC. Defendants admit the



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             Operating Agreement is attached to the Amended Complaint as Exhibit D. Defendants

             deny the remaining allegations in Paragraph 29 of the Amended Complaint. The

             operating agreement will speak for itself.

        30. Paragraph 30 of the Amended Complaint is denied. The language of the Operating

             Agreement will speak for itself.

                                  Invalid Conveyance of the Property

        31. Defendants admit the Executor’s Deed of Assent is recorded in the real property

             records of Thomas County at Deed Book 1765, Page 85 on May 18, 2012, and is

             attached to the Amended Complaint as Exhibit E. The remaining allegations contained

             in Paragraph 31 are denied.

        32. Paragraph 32 of the Amended Complaint is denied.

        33. Defendants admit the lease was entered into between RCR as himself and as the then

             Goodenow Manager. The remaining allegations contained in Paragraph 33 of the

             Amended Complaint are denied.

        34. Defendants admit on June 17, 2016, Wilmington Trust was removed as trustee of the

             PGR Trust , and Bryn Mawr was appointed as trustee of the Trust. Defendants neither

             admit nor deny the truth of the remaining allegations contained in Paragraph 34 of the

             Amended Complaint for lack of sufficient knowledge or information so as to form a

             belief as to the truth thereof.

              Ownership and Management of the property After the Death of RCR

        35. Paragraph 35 of the Amended Complaint is admitted.




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        36. Paragraph 36 of the Amended Complaint is denied, and Defendants defer to the

             documents with regard to the precise distribution of property.

        37. Paragraph 37 of the Amended Complaint is denied.

        38. Paragraph 38 of the Amended Complaint is denied.

        39. Defendants admit the PGR Trust dissolved. Defendants admit after RCR’s death the

             sisters appointed themselves as Successor Managers of Goodenow, pursuant to section

             4.1(c) of the operating agreement. The remaining allegations contained in Paragraph

             39 of the Amended Complaint are denied.

        40. Paragraph 40 of the Amended Complaint is denied.

        41. Paragraph 41 of the Amended Complaint is denied.

        42. Defendants admit the property has not been distributed per stirpes. The remaining

             allegations contained in Paragraph 42 of the Amended Complaint are denied.

        43. Defendants admit, prior to RCR’s death, Goodenow held no bank account, expended

             no funds, and had no employees. The remaining allegations contained in Paragraph 43

             of the Amended Complaint are denied.

        44. Paragraph 44 of the Amended Complaint is denied.

        45. Paragraph 45 of the Amended Complaint is denied.

        46. Paragraph 46 of the Amended Complaint is denied.

        47. Defendants admit that pursuant to the Operating Agreement decisions can be made

             regarding the Property by a majority of the managers as long as said decisions comply

             with the Operating Agreement and applicable laws. The remaining allegations of

             Paragraph 47 of the Amended Complaint are denied.

        48. Paragraph 48 of the Amended Complaint is denied.




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        49. Defendants admit the Sisters do NOT share title to Winnstead as tenants in common.

             The remaining allegations contained in Paragraph 49 of the Amended Complaint are

             denied.

          Attempts to Market and Sell the Property and Undercut Plaintiff’s Interests

        50. Paragraph 50 of the Amended Complaint is admitted.

        51. Defendants admit that the sisters agreed that in principle the Property should be sold,

             presumptively with an intended distribution of the proceeds ultimately going to each

             sister equally. Defendants admit that Plaintiff offered to suggest a broker. The

             remaining allegations in Paragraph 51 of the Amended Complaint are denied.

        52. Paragraph 52 of the Amended Complaint is denied.

        53. Paragraph 53 of the Amended Complaint is admitted.

        54. Paragraph 54 of the Amended Complaint is denied.

        55. Defendants admit a marketing proposal is attached as Exhibit G. The remaining

             allegations contained in Paragraph 55 of the Amended Complaint are denied.

        56. Paragraph 56 of the Amended Complaint is denied.

        57. Paragraph 57 of the Amended Complaint is denied.

        58. Paragraph 58 of the Amended Complaint is denied.

        59. Paragraph 59 of the Amended Complaint is denied.

        60. Defendants admit only Goodenow should be listed on the proposed contract as seller.

             The remaining allegations contained in Paragraph 60 of the Amended Complaint are

             denied.

        61. Defendants admit Plaintiff refused to sign the listing agreement. The remaining

             allegations contained in Paragraph 61 of the Amended Complaint are denied.



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        62. Defendants admit Plaintiff refused to sign the listing agreement. The remaining

             allegations contained in Paragraph 62 of the Amended Complaint are denied.

        63. Paragraph 63 of the Amended Complaint is denied.

        64. Paragraph 64 of the Amended Complaint is denied.

        65. Paragraph 65 of the Amended Complaint is denied.

        66. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             66 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        67. Paragraph 67 of the Amended Complaint is denied.

                              Unauthorized Loans Against the Property

        68. Paragraph 68 of the Amended Complaint is denied.

        69. Defendants are the sole creditors of Goodenow. The remaining allegations of

             Paragraph 69 of the Amended Complaint are denied.

        70. Defendants admit the operational costs for all the properties total over $1 million

             annually, as they did during their father’s lifetime, and Defendants have extended

             credit to Goodenow to pay those costs. The remaining allegations contained in

             Paragraph 70 of the Amended Complaint are denied.

        71. Paragraph 71 of the Amended Complaint is denied.

        72. Paragraph 72 of the Amended Complaint is denied.

        73. Paragraph 73 of the Amended Complaint is denied.

        74. Paragraph 74 of the Amended Complaint is denied.

        75. Paragraph 75 of the Amended Complaint is denied.




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        76. Defendants specifically deny the Delaware action is separate and distinct from this

             action. Defendants neither admit nor deny the truth of the allegations contained in

             Paragraph 76 of the Amended Complaint for lack of sufficient knowledge or

             information so as to form a belief as to the truth thereof.

        77. Paragraph 77 of the Amended Complaint is denied.

                              BMTC Holds and Interest in the Property

        78. Paragraph 78 of the Amended Complaint is denied.

        79. Paragraph 79 of the Amended Complaint is denied.

        80. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             80 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        81. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             81 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        82. Defendants deny the Property should have been distributed to the Sisters per stirpes.

             Defendants deny that it was “wrong” for BMTC to request an indemnification.

             Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             82 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        83. Paragraph 83 of the Amended Complaint is admitted.

        84. Paragraph 84 of the Amended Complaint is denied.

        85. Paragraph 85 of the Amended Complaint is denied.

        86. Paragraph 86 of the Amended Complaint is denied. The Deed will speak for itself.



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        87. Paragraph 87 of the Amended Complaint is denied.

        88. Paragraph 88 of the Amended Complaint is denied. The Deed will speak for itself.

        89. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             89 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        90. Paragraph 90 of the Amended Complaint is denied.

        91. Paragraph 91 of the Amended Complaint is denied.

        92. Paragraph 92 of the Amended Complaint is denied.

        93. Paragraph 93 of the Amended Complaint is denied.

        94. Paragraph 94 of the Amended Complaint is denied.

        95. Paragraph 95 of the Amended Complaint is denied.

        96. Paragraph 96 of the Amended Complaint is denied.

        97. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             97 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        98. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             98 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        99. Defendants neither admit nor deny the truth of the allegations contained in Paragraph

             99 of the Amended Complaint for lack of sufficient knowledge or information so as to

             form a belief as to the truth thereof.

        100.      Paragraph 100 of the Amended Complaint is denied.

        101.       Paragraph 101 of the Amended Complaint is denied.




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        102.       Defendants neither admit nor deny the truth of the allegations contained in

             Paragraph 102 of the Amended Complaint for lack of sufficient knowledge or

             information so as to form a belief as to the truth thereof.

                                   Count I – Declaratory Judgment

        103.      Defendants reallege and incorporate their responsive answers to Paragraphs 1

             through 102 as if fully set forth herein.

        104.      Paragraph 104 of the Amended Complaint is denied.

        105.      Paragraph 105 of the Amended Complaint is denied.

        106.      Paragraph 106 of the Amended Complaint is denied.

        107.      Defendants neither admit nor deny the truth of the allegations contained in

             Paragraph 107 of the Amended Complaint for lack of sufficient knowledge or

             information so as to form a belief as to the truth thereof.

                                           Count II – Injunctive Relief

        108.      Defendants reallege and incorporate their responsive answers to Paragraphs 1

             through 107 as if fully set forth herein.

        109.      Paragraph 109 of the Amended Complaint is denied.

        110.      Paragraph 110 of the Amended Complaint is denied.

        111.      Paragraph 111 of the Amended Complaint is denied.

        112.      Defendants neither admit nor deny the truth of the allegations contained in

             Paragraph 112 of the Amended Complaint for lack of sufficient knowledge or

             information so as to form a belief as to the truth thereof, and each and every other

             allegation of Plaintiff's Amended Complaint not heretofore admitted nor denied is

             hereby denied.



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 Count III - Declaratory Judgment as to BMTC’s Duties and Obligations with Respect to

                                     Distribution of the Property

        113.      Defendants reallege and incorporate their responsive answers to Paragraphs 1

             through 112 as if fully set forth herein.

        114.      Paragraph 114 of the Amended Complaint is denied.

        115.      Paragraph 115 of the Amended Complaint is denied.

        116.      Paragraph 116 of the Amended Complaint is denied.

        117.      Defendants admit BMTC is the trustee of the Trust as successor to Wilmington

             Trust. The remaining allegations of Paragraph 117 of the Amended do not require a

             response as it states a legal conclusion.

        118.      Paragraph 118 of the Amended Complaint is denied.

        119.      Paragraph 119 of the Amended Complaint is denied.

        120.      Paragraph 120 of the Amended Complaint is denied.

        121.      Paragraph 121 of the Amended Complaint is denied.

        122.      Paragraph 122 of the Amended Complaint is denied.

        123.      Each and every other allegation set forth in the Amended Complaint not

             specifically responded to above is hereby denied.

        WHEREFORE, Defendants having responded fully to Plaintiff’s Amended Complaint

        hereby demand judgment in their favor with all costs cast upon Plaintiff.




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           Case 7:21-cv-00105-HL Document 12 Filed 11/02/21 Page 13 of 17




         This 2nd day of November, 2021.


109 S. Ashley Street                       COLEMAN TALLEY LLP
Valdosta, GA 31601
(229) 242-7562
(229) 333-0885 facsimile                   /s/ Gregory T. Talley
Greg.talley@colemantalley.com              Gregory T. Talley
Beau.howell@colemantalley.com              Georgia Bar No. 696705
Kayla.barnes@colemantalley.com             A.A. Howell, IV
                                           Georgia Bar No. 689955
                                           Kayla H. Barnes
                                           Georgia Bar No. 301948




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION


PIMPAKTRA RUST

        Plaintiff,

vs.                                            CIVIL ACTION

VINA E. RUST, CHAKDHARI A. RUST, Case No. 7:21-cv-00105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE

        Defendants.

                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that he has this day mailed a copy of the foregoing VERIFIED
ANSWER AND DEFENSES OF VINA ELISE RUST, CHAKDHARI ANISSA RUST,
INDIVIDUALLY AND AS CO-EXECUTORS OF THE ESTATE OF RICHARD C. RUST,
SUCCESSOR IN INTEREST AS EXECUTOR OF THE ESTATE OF PHILIP G. RUST, JR. TO
PLAINTIFF’S VERIFIED AMENDED COMPLAINT FOR DECLARATORY JUDGMENT AND
INJUNCTIVE RELIEF in an envelope properly addressed and with sufficient postage thereon for
delivery, to:


                                    Frank Faison Middleton, IV
                                        Watson Spence LLP
                                          P.O. Box 2008
                                      320 W. Residence Ave.
                                    Albany, Georgia 31702-2008

                                       Danielle C. Le Jeune
                                1230 Peachtree Street NE, Suite 400
                                        Atlanta, GA 30309
               nd
         This 2 day of November, 2021.




4864-3846-2721, v. 1
           Case 7:21-cv-00105-HL Document 12 Filed 11/02/21 Page 15 of 17




109 S. Ashley Street                      COLEMAN TALLEY LLP
Valdosta, GA 31601
(229) 242-7562
(229) 333-0885 facsimile                  /s/ Gregory T. Talley
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Beau.howell@colemantalley.com             Georgia Bar No. 696705
Kayla.barnes@colemantalley.com            A.A. Howell, IV
                                          Georgia Bar No. 689955
                                          Kayla H. Barnes
                                          Georgia bar No. 301948




4864-3846-2721, v. 1
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 PIMPAKTRA
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          Plaintiff,
          Plaintiff,
          Plaintiff,

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             R         CHAKDHARI
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 C O M P A N Y OFOF DELAWARE
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          Defendants.
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                                             VERIFICATION
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          PHILIP G. RUST,
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                    RUST, JR. TO
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                        IN THE
                        IN      UNITED STATES
                           THE UNITED                    COURT
                                                DISTRICT COURT
                                        STATES DISTRICT
                        FOR THE
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                             THE MIDDLE   DISTRICT  OF GEORGI
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                                   VALDOSTA   DIVISION

 PIMPAKTRA
 PIMPAKTRA RUST
           RUST

          Plaintiff,
          Plaintiff,

 VS.
 vs.                                                                         CIVIL ACTION
                                                                             CIVIL ACTION

 VINA E.
 VINA E. RUST,
         RUST, CHAKDHARI
               CHAKDHARI A.
                         A. RUST,
                            RUST, | Case
                                    Case No.
                                         No. 7:21-cv-00105-HL
                                             7:21-cv-00105-HL
 and
 and  THE
      THE    BRYN
             BRYN   MAWR
                    MAWR   TRUST
                           TRUST
 COMPANY OF
 COMPANY    OF DELAWARE
               DELAWARE

          Defendants.
          Defendants.


                                                        VERIFICATION
                                                        VERIFICATION

PERSONALLY APPEARED, Chakdhari
PERSONALLY APPEARED, Chakdhari A.
                               A. Rust,
                                  Rust, who,
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CHAKDHARI ANISSA
CHAKDHARI ANISSA RUST,
                 RUST, INDIVIDUALLY
                       INDIVIDUALLY AND
                                    AND AS
                                        AS CO-EXECUTORS
                                           CO-EXECUTORS OF
                                                        OF THE
                                                           THE

ESTATE OF
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          RICHARD C.
                  C. RUST,
                     RUST, SUCCESSOR
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                                                             OF THE
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ESTATE
ESTATE       OF PHILIP
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                       G. RUST,
                          RUST, JR.
                                JR. TO
                                    TO PLAINTIFF'S
                                       PLAINTIFF'S VERIFIED
                                                   VERIFIED AMENDED
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FOR DECLARATORY
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